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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

OSTEOMED, L.P.,                   §
                                  §
           Plaintiff,             §
                                  §
v.                                §                  Civil Action No. 3:06-CV-1045-K
                                  §
KOBY INDUSTRIES, L.P. (d/b/a KOBY §
SURGICAL), KOBY INDUSTRIES,       §
INC., LARRY WEATHERFORD and       §
PERRY FORRESTER,                  §
                                  §
           Defendants.            §

                   MEMORANDUM OPINION AND ORDER

        Before the Court are: (1) Plaintiff’s Motion to Compel Arbitration and (2)

Defendants’ Motion to Dismiss Case or, Alternatively, Stay Case Pending Arbitration.

For the following reasons, the Court GRANTS Plaintiff’s motion and GRANTS in part

and DENIES in part Defendants’ motion.

I.      Factual and Procedural Background

        Plaintiff Osteomed, L.P. (“Plaintiff”) is in business related to medical devices,

surgical implants, and powered surgical instruments, but most notably surgical devices

for surgeons such as “bone screws.” Defendants Koby Industries, L.P. (d/b/a Koby

Surgical), Koby Industries, Inc., Larry Weatherford, and Perry Forrester (collectively

“Defendants”) developed a podiatric device, “IsoGard System,” which was marketed by

Defendants under the trade name “Koby Surgical.” Plaintiff expressed interest in the




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IsoGard System. On April 27, 2004, Plaintiff and Defendants entered into a “Product

and Technology Purchase, and Royalty Agreement” (“Agreement”) in which Plaintiff

acquired the rights to the IsoGard System. Plaintiff “re-branded” the IsoGard System

as the “KobyGard System.” Plaintiff contends that the Agreement transferred the rights

of the “KobyGard System,” including the name “Koby Surgical,” to Plaintiff. The

Agreement included an arbitration clause as well as a provision that Texas law would

govern.

         Plaintiff contends that since the Agreement was effected, Defendants have

marketed “knock-off bone screws” using the same trade name, “Koby Surgical,” as was

originally attached to the IsoGard System. This, Plaintiff claims, has caused confusion

among customers and potential customers. Plaintiff also alleges that Defendants cause

added confusion by using similar packaging, signs, product arrangements, and packaging

colors. In addition, Defendants’ website employs strikingly similar colors and imagery

to that of the Plaintiff’s.

II.      Analysis

         A.    Applicable Law

         In deciding a motion to compel arbitration, the Court employs a two-part test:

(1) a valid agreement to arbitrate must exist between the parties; and (2) the dispute in

question must fall within the scope of that arbitration agreement. PaineWebber Inc. v.

Chase Manhattan Private Bank (Switzerland), 260 F.3d 453, 462 (5th Cir. 2001). Under

Texas law, whether a claim is subject to the arbitration clause depends on the factual



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allegations contained in the complaint, not the causes of action asserted. See Ford v.

NYLCare Health Plans of the Gulf Coast, Inc., 141 F.3d 243, 250 (5th Cir. 1998). A claim

is arbitrable if it is so interwoven with the underlying contract that it could not stand

alone; however, it is not arbitrable if the claim is so independent of the contract that it

can be maintained without reference to the contract. See id. This test seeks to insure

that a claim “formally labeled a tort” is not in actuality “a breach of contract claim or

based on a breach of contract.” Id. The Court must look to the facts forming the basis

of each claim to determine whether it “‘could be maintained without reference to the

contract,’” not simply whether it references the contract. Id. (quoting Valero Energy Corp.

v. Wagner & Brown, 777 S.W.2d 564, 566 (Tex. App.–El Paso 1989)).

       B.     Parties’ Claims and Counter-Claims

       1.     Defendants’ Counterclaims

       Defendants concede in the various briefing before the Court that its counterclaims

are subject to arbitration. Consequently, the Court grants Plaintiff’s motion to compel

arbitration of Defendants’ counterclaims. Defendants’ counterclaims are stayed pending

completion of arbitration.

       2.     Plaintiff’s Claims

       What the parties continue to dispute is whether Plaintiff’s claims are also subject

to arbitration. Plaintiff asserts the following claims: (1) False Designation of Origin in

Violation of Lanham Act; (2) Federal Trade Dress Infringement in Violation of Lanham




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Act; (3) Unfair Competition Under Texas Law–Palming or Passing Off; (4) Civil

Conversion; (5) Fraudulent Inducement; (6) Fraud; and (7) Civil Conspiracy.

       Both parties concur the Agreement contains an arbitration clause, section 17(b),

which requires:

              Any dispute, controversy or claim arising out of or in
              connection with this Agreement, or the breach, termination
              or validity thereof, which cannot be amicably resolved by the
              parties within thirty (30) days after receipt by one party of
              written notice from the other party that such a controversy
              or claim exists shall be settled by final and binding
              arbitration. . . .

Therefore, the first part of the test, whether a valid agreement to arbitrate exists, is met.

See PaineWebber, 260 F.3d at 462. It is the second factor, whether the claims Plaintiff

asserts fall within the scope of the arbitration agreement, that is in dispute. Plaintiff

argues that it’s claims, unlike Defendants’, do not.

       Plaintiff contends that Counts One through Three fall outside the scope of the

arbitration clause and, therefore, are not arbitrable.      Plaintiff does not make any

argument as to whether the scope of the arbitration clause reaches Counts Four through

Seven: civil conversion, fraudulent inducement, fraud and civil conspiracy. The Court

concludes that the claims in Counts Four through Seven are within the scope of the

arbitration clause. These claims clearly arise out the Agreement and cannot stand alone,

as they either require reference to the Agreement as a legal matter or are based on a

breach of the Agreement. See Ford, 141 F.3d at 250; A & A Global Ind., Inc. v. Wolfe, No.




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3:01-CV-1515-D, 2001 WL 1343628, *4 (N.D. Tex. Oct. 29, 2001)(Fitzwater, J.).

These claims, therefore, will be stayed pending the completion of arbitration.

      Plaintiff does argue that its Lanham Act and Unfair Competition claims, Counts

One through Three, are independent of the Agreement and fall outside the scope of the

arbitration clause.   Specifically, Plaintiff contends that the Agreement is “‘legally

irrelevant’ and ‘purely evidentiary.’” The Court agrees these claims can stand alone from

the Agreement. See Ford, 141 F.3d at 250. To prevail on the false designation of origin

claim and trade dress infringement claims, Plaintiff must establish that its product design

has acquired secondary meaning. See Wolf Designs, Inc. v. Donald McEvoy Ltd., Inc., 341

F.Supp.2d 639, 644 (N.D. Tex. 2004)(Fish, J.). Neither one of these claims requires as

a legal matter that Plaintiff refer to the Agreement.

      This court previously addressed whether a Lanham Act claim could stand

independent of the underlying contract which contained an arbitration clause. Wolfe,

2001 WL 1343628 at *4. The court held that, “regardless of the validity of the

assignment purportedly made by the . . . agreement, reference to the agreement is

required only as an evidentiary matter (for instance, to show the source of plaintiffs’

ownership of the trademark on which they sue), not as a legal matter in order for

plaintiffs to maintain their Lanham Act claim.” Id. (arbitration clause language almost

identical to that in the instant case); see also Ford, 141 F.3d at 251-52 (legally similar

arbitration clause language where Fifth Circuit affirmed district court’s denial of motion

to compel arbitration of Lanham Act claim, agreeing plaintiff could maintain Lanham



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Act claim without referring to the underlying agreement). Accordingly, the Court denies

Defendants’ motion to compel arbitration of Counts One and Two of Plaintiff’s

complaint.

      In Count Three, Plaintiff makes a claim of unfair competition. To maintain this

claim, Plaintiff must establish that (1) its trade name has acquired a secondary meaning

through usage and (2) the similarity of the name used by Defendant would be likely to

confuse the public. See RTLC AG Prod., Inc. v. Treatment Equip. Co., 195 S.W.3d 824,

833 (Tex. App.–Dallas, June 27, 2006). While Plaintiff must establish it owns the trade

name “Koby Surgical,” reference to the Agreement, if made at all, would only be “an

evidentiary matter to indicate the origin of [Plaintiff’s] ownership of the [trade name].”

Wolfe, 2001 WL 1343628, at *4 (anti-dilution claim required plaintiffs to establish

ownership of mark or trade name). This claim, therefore, may also be maintained

independent of the Agreement. Consequently, Plaintiff’s claim under Count Three is

not subject to arbitration. Any relief Defendants’ motion requests related to Plaintiff’s

claims in Counts One through Three is expressly denied.

      Plaintiff also argues that its complaint was properly filed, and not subject to

arbitration, because it is seeking injunctive relief pursuant to section 17(h) of the

Agreement:

             In the event of any breach by a party of the terms of this
             Agreement which would cause any nonbreaching party to be
             irreparably harmed or for which such nonbreaching party
             could not be made whole by monetary damages, then in such
             circumstances such nonbreaching party . . . shall, without



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              inconsistency with this Agreement, be entitled to injunctive
              relief . . . in any action instituted in any court of competent
              jurisdiction pursuant to Section 17(I).

       The language of section 17(h) provides that Plaintiff may seek injunctive relief

based on irreparable harm it has or is suffering. But the language also indicates that

section 17(h) must be read in conjunction with section 17(I) which provides:

              Notwithstanding the foregoing provisions of this section 17,
              any controversy or claim otherwise subject to arbitration
              under this Agreement may initially be heard by any court of
              competent jurisdiction to the extent, and only to the extent,
              that initial submission of the matter to a court is necessary
              for a party (I) to obtain, on an interim basis (pending the
              final award of the arbitral tribunal), injunctive relief, compel
              specific performance or receive other appropriate equitable
              recourse . . . provided, however, that any matter initially
              submitted to the court shall be referred by the court to
              arbitration pursuant to this Section 17 as soon as the matter
              as to which such interim injunctive relief specify
              performance, other appropriate equitable recourse or
              enforcement relief was sought has been heard and ruled upon
              by the court.

The language of section 17(I) indicates that Plaintiff may seek injunctive relief from a

court on an interim basis for any claim which would otherwise be subject to arbitration

and that such matter would then be referred to arbitration as soon as ruled on by the

court. The Court acknowledges Plaintiff may seek injunctive relief for any of the claims

the Court has deemed subject to arbitration. However, to date, there have been no

applications made and certainly there has been no appropriate showing of the equitable

factors which would entitle Plaintiff to any injunctive relief. Merely requesting such

relief generally in a complaint will not suffice. See FED . R. CIV . P. 65. Plaintiff still



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maintains the rights under these sections to seek injunctive relief in the future related

to any of its claims should it so choose.

       C.     Conclusion

       Defendants’ counterclaims, as conceded to by Defendant, are subject to

arbitration pursuant to the language set forth in the Agreement. Therefore, Plaintiff’s

motion to compel arbitration of these claims is granted. Defendants’ counterclaims are

stayed pending the completion of arbitration. Defendants’ motion to dismiss case or

alternatively stay case pending arbitration is granted in part and denied in part. The

Court grants the motion related to Plaintiff’s claims in Counts Four through Seven.

Plaintiff’s claims for civil conversion, fraudulent inducement, fraud, and civil conspiracy

must be arbitrated subject to the language in the Agreement. These claims are stayed

pending the completion of arbitration. All other relief requested in Defendants’ motion

is denied.

       SO ORDERED.

       Signed November 20th, 2006.

                                            ______________________________________
                                            ED KINKEADE
                                            UNITED STATES DISTRICT JUDGE




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